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                      IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 IN RE: Ardena Y. Starks
                              Debtor(s)
                                                                           Chapter 13
 PENNSYLVANIA HOUSING FINANCE
 AGENCY
                     Movant
          vs.                                                          NO. 20-13580 ELF

 Ardena Y. Starks
                              Debtor(s)

 and Kenneth E. West Esq.
                              Trustee


                                                ORDER
       AND NOW, this         day of             , 2021 upon the filing of a Certification of Default by the

Movant on November 11, 2021, and that Certification of Default having been withdrawn by Movant on

November 19, 2021, it is ORDERED that the November 22, 2021 Order Granting Relief from the

Automatic Stay is hereby VACATED.




                                                    ERIC L. FRANK
                                                   UNITED STATES BANKRUPTCY JUDGE
